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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN RE                            :              CHAPTER 11
                                 :
RMG SPORTS GROUP INC.,           :
                                 :              CASE NO. 23-52472-WLH
                                 :
          DEBTOR.                :
                                 :
                                 :
MARY IDA TOWNSON,                :
UNITED STATES TRUSTEE, REGION 21,:
                                 :
          MOVANT,                :
                                 :
-vs-                             :              CONTESTED MATTER
                                 :
RMG SPORTS GROUP INC.,           :
                                 :
          RESPONDENT.            :

             UNITED STATES TRUSTEE’S MOTION TO DISMISS CASE

        Mary Ida Townson, United States Trustee for Region 21, in furtherance of the

administrative responsibilities imposed by 28 U.S.C. § 586(a), moves the Court to dismiss

this case for cause pursuant to 11 U.S.C. § 1112(b) and shows as follows.

        1.     On March 15, 2023, RMG Sports Group Inc (“Debtor”) commenced this case

by filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code (the

“Petition”).

        2.     Norman Royell Washington signed the Petition as President of the Debtor.

        3.     A search of the Georgia Secretary of State website conducted on March 15,

2023, revealed that Norman Washington is listed as the CEO of the Debtor and that the
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Debtor last filed its annual registration in 2021.

       4.     According to the search of the Georgia Secretary of State website, the Debtor

dissolved on October 28, 2022.

       5.     The Petition was not signed by an attorney representing the Debtor.

       6.     It appears on the face of the petition that Debtor is an artificial entity and that

it is not represented by an attorney.

       7.     Because Debtor is an artificial entity, it cannot represent itself in this

proceeding, nor may its officers appear before this court on its behalf unless they are

licensed attorneys. See Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385 (11th Cir. 1985);

National Indep. Theatre Exhibitors, Inc. v. Buena Vista Distrib. Co., 748 F.2d 602, 609

(11th Cir. 1984).

       WHEREFORE, the United States Trustee respectfully moves the Court to dismiss

this case and grant such other relief as the Court deems just and proper.

                                                     MARY IDA TOWNSON
                                                     UNITED STATES TRUSTEE
                                                     REGION 21

                                                            /s/
                                                     Alan Hinderleider
                                                     Trial Attorney
                                                     Georgia Bar No. 938543
                                                     Office of the United States Trustee
                                                     362 Richard Russell Building
                                                     75 Ted Turner Drive, SW
                                                     Atlanta, Georgia 30303
                                                     (404) 331-4464
                                                     Alan.Hinderleider@usdoj.gov
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                             CERTIFICATE OF SERVICE

       This is to certify that I have on this day electronically filed the foregoing United
States Trustee’s Motion to Dismiss Case using the Bankruptcy Court’s Electronic Case
Filing program, which sends a notice of this document and an accompanying link to this
document to the following parties who have appeared in this case under the Bankruptcy
Court’s Electronic Case Filing program:

   • Tamara M. Ogier (Sub V Trustee)             tmo@orratl.com,
                                                 jc@orratl.com;
                                                 tmo@trustesolutions.net;
                                                 ctmo11@trustesolutions.net

       I further certify that on this day, I caused a copy of this document to be served via
United States First Class Mail, with adequate postage prepaid on the following parties at
the address shown for each.

RMG Sports Group Inc
4707 Ashford Dunwoody Rd
Atlanta, GA 30338

                                                               /s/
                                                 Alan Hinderleider
                                                 Georgia Bar No. 938543
                                                 United States Department of Justice
Office of the United States Trustee
362 Richard B. Russell Building
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Atlanta, Georgia 30303
(404) 331-4464
Alan.Hinderleider@usdoj.gov
